Case 22-13154-pmm          Doc 31    Filed 05/23/23 Entered 05/23/23 17:22:25              Desc Main
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                             United States Bankruptcy Court
                             Eastern District of Pennsylvania
In re:                                              Case No. 22-13154-pmm

         Pamela Nicole Fairey,                      Chapter 13

                         Debtor.


                 Debtor’s Motion to Determine Value of Property and Allowed
                   Secured Claim of First Investors Servicing Corporation

         AND NOW, Debtor Pamela Nicole Fairey, by and through her attorney, moves this Court

to determine value of property. In support of this motion, the Debtor states as follows:

         1. The Debtor filed this case under chapter 13 on November 28, 2022.

         2. On April 2, 2019, the Debtor entered into an installment contract (“the Loan”) for the

refinance of a 2014 Kia Sorento, VIN 5XYKUDA78EG490401 (“the Car”), which is assigned to

First Investors Servicing Corporation (“the Creditor”).

         3. The Creditor filed Claim No. 4 in this case, secured by the Car in the amount of

$11,410.60. Exhibit A.

         4. The Kelley Blue Book value of the Car is $8,219.00. Exhibit B.

         5. Because the Loan is not secured by a purchase money security interest, it can be

considered for a “cram down” at its current value. 11 U.S.C. § 506(A)(2).

         6. The Court should determine that the value of the Car is $8,219.00 and that the secured

component of Claim No. 4 must be paid according to that value.

         NOW, THEREFORE, the Debtor asks this Court grant relief in the form of order attached

and to grant such other relief in their favor as may be necessary and proper under the law.


Date: May 23, 2023                               CIBIK LAW, P.C.
                                                 Counsel for Debtor

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